              Case 4:24-cv-01347 Document 17 Filed on 10/18/24 in TXSD Page 1 of 3




                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

         CANDACE BROOKS,                                  §
                                                          §
         Plaintiff,                                       §
                                                          §
         v.                                               §        Civil Action No. 4:24-cv-01347
                                                          §
         PHH MORTGAGE CORPORATION,                        §
                                                          §
                        Defendant.
                                                          §

                                      JOINT NOTICE OF SETTLEMENT


                Plaintiff Candace Brooks (“Plaintiff”) and Defendant PHH Mortgage Corporation

     (“Defendant”) hereby file this Joint Notice of Settlement and respectfully show the Court as

     follows:

                The Parties have reached a tentative settlement regarding the claims and causes of action

     asserted in the above-reference-and-numbered cause. The Parties fully expect to present dismissal

     papers to the Court within thirty (30) days.

                The Parties respectfully request that the Court stay any pretrial deadlines and remove the

     above-captioned-and-numbered lawsuit from the Court’s November 19, 2024, Docket Call

     setting.1

                                                     Respectfully submitted,

                                                     /s/ Taneska L. Jones
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JOINT NOTICE OF SETTLEMENT

139207803V.1
           Case 4:24-cv-01347 Document 17 Filed on 10/18/24 in TXSD Page 2 of 3




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                                          -AND-

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JOINT NOTICE OF SETTLEMENT

139207803V.1
           Case 4:24-cv-01347 Document 17 Filed on 10/18/24 in TXSD Page 3 of 3




                                       CERTIFICATE OF SERVICE

            I hereby certify that on this 18th day of October 2024, a true and correct copy of the
     foregoing instrument was served on the following counsel of record via ECF and/or email
     according to the Federal Rules of Civil Procedure:

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               Counsel for Plaintiff


                                                /s/ Taneska L. Jones
                                                Counsel for Defendant PHH




JOINT NOTICE OF SETTLEMENT

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